Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 1 of 27 PagelD #: 908

Exhibit “3”
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An enduring symbol of sophistication, style and legendary service, The Ritz-Carlton creates exceptlonal luxury experiences at more than
80 hotel and resort locations around the globe. The memories created by the ladies and gentlemen of The Ritz-Carlton stay with you long
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luxury resort destinations. Each location makes a strong reference to the local culture while retaining a distinctly Italian contemporary
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Tha London EXITION

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response to the desire for a sophisticated experience from the guest with a contemporary lifestyle. The Istanbul! EDITION is the brand's
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Case 1:14-cv-05960-NG-RLM Document 54-1 Filed 10/24/17 Page 3 of 6 PagelD #: 702
Marriott International | Marriott brands ‘ Page 4 of 8

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Today, Mariott Hotels celebrate the travelers of the world. Our misslon Is to host you brilliantly... to make your every event and stay with
Us unforgettable and effortless, From next gen meeting spaces to tech-enhanced guest service and beyond, we offer 500 locations
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One of North America's leading four-star brands, Delta Hotels and Resorts offers hotels In gateway cities such as Toronte and Edmonton,
as well as one-of-a-kind resorts In destinations including Banff and Whistler, Whether you're traveling for business or play, modern and
timeless design, personable service and well-appointed amenities are always Included.

We'll soon be welcoming Delta Hotels and Resorts Into Marriott Rewards*, Check back for details on when you can earn and use points
with our newest brand.

The Sopertyl Mancow Bat;

Marriott Executive Apartments®

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Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 6 of 27 PagelD #: 913

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Thalland (3)
C Free breakfast (6)

© Fitness center (511)

AUSTRALIA & PACIFIC ISLANDS Austratia (4)
See all hotels in Australia & C Business center (494)

Pacific Islands
D Restaurant on-site (512)
O Pool (469)
O Kitchen/kitchenette (60)

© Plugin Panel (305)

CANADA
See all hotels In Canada D Pet friendly (85)
© Room service (516)
CO New Lobby (169)
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« Free high speed internet
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+ Fitness center

« Business center

+ Restaurant on-site
«Pool

+ Kitchen/kitchenatte

+ Plug In Panet

+ Pet friendly

+ Room service

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Top Destinations

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San Francisco
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Los Angeles

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Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 8 of 27 PagelD #: 915

Case 1:14-cv-05960-NG-RLM Document 54-2 Filed 10/24/17 Page 1 of 1 PagelD #: 708

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Room Rate Discount Authorization Form

Pare of Parentin-Law of Associate or Parent of Domestic Partner
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Case 1:14-cv-05960-NG-RLM Document 54-3 Filed 10/24/17 Page 1 of 8 PagelD #: 707

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21/07/13 Calypso Restaurant
Room# 12215 : CHECK# 1038

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Room# 12215 : CHECK# 0000

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Royal St. Kitts Beach Resort Umited
TIN: 00130685
858 Zenway Blvd, Frigate Bay, St. Kitts, BWI
Tel 869/466- 1200 Fax 869/466- 1201

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Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 10 of 27 PagelD #: 917

Case 1:14-cv-05960-NG-RLM Document 54-3 Filed 10/24/17 Page 2 of 3 PagelD #: 708

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Cashier No. : 1061
Thank you for staying with us 22/07/13
Date Description Charges Credits

USD USD

Room# 12215 : CHECK# 2161

22/07/13 S&P Engineer Hosp 72.06
Guest had leak In room and fell, credit was done for
taxt fees and hospital and bandaid

650.61 72,06
Balance 578.55 USD

Signature _
should you have sny questions concerning your account, please contact our Front Office Manager at
mhrs.skbrb.fom@mariott hotels.com or by dlaling our Toll Free number 1-866-847-1139,

Please note that International credit cards are subject to exchange rates that may vary slightly fromthe one used
by the non at checkout, In addition, some credit card companies mey charge a fee for card use outside of the
country Of origin,

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Royal St. Kitts Beath Resort Limited
TIN: 00130695
858 Zenway Blvd, Frigate Bay, St, Kitts, BWI
Tel 869/466 1200 Fax 869/466-1201

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Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 11 of 27 PagelD #: 918

Case 1:14-cv-05960-NG-RLM Document 54-3 Filed 10/24/17 Page 3 of 3 PagelD #: 709

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17/07/L3 Service Charge 10.50
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Signature

Should you have any questions conceming your account, please contact our Front Office Manager at
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Royal St. Kitts Beach Resort Limited
TIN: 00130695
858 Zenway Bivd, Frigate Bay, St. Kitts, BWI
Tel 869/466-1200 Fax 869/466- 1201

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Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 12 of 27 PagelD #: 919
Case 1:14-cv-05960-NG-RLM Document 54:4
ge 2 of 16 PagelD #: 711

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Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 13 of 27 PagelD #: 920

Ee eS
Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 14 of 27 PagelD #: 921

Case 1:14-cv-05960-NG-RLM Document 54-4 Filed 10/24/17 Page 3 of 16 PagelD #: 712

Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 15 of 27 PagelD #: 922

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Cry)
ST. KITTS

RESORT

& THE ROYAL GEACH CASINO

Marriott.

The St Kitts Marriott Resort and Royal Beach Casino
warmly welcomes you to the twin island Federation of
St Kitts and Nevis Nestled in a true tropical setting
between the Atlantic Ocean and Caribbean Sea. St Kitts
is the ideal vacation spot

At the St. Kitts Marriott Resort and the Royal Beach Casino
i ig our goal is to make your stay 4 most enjoyable experience

Whether you are here to enjoy our beaches or explore

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te purchases at Christophe Harbour qualify for '
Citizenship by Investment.

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our lush rainforest, our beautitul resort ano dedicated staff

arc here to accommodate you

Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 16 of 27 PagelD #: 923

Case 1: 14-cv-0S960-NG-RLM

Document 54-4 Filed 10/24/17 Page 5 of 16 PagelD #: 714

TABLE OF CONTENTS

Pg} Welcome
Pg 5 . Discover St Kilts
Pg 7 Hotel Services
Pq? Weddings & Business Center
PgQ Safety “Housekeeping
Pqll Phone Calls
Pg il Resort Amenities
Pg iz Restaurants

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Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 17 of 27 PagelD #: 924

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We Offer rellable sub compact, compact and
4x4 vehicle, fast services, competitive rates,
and a name you can depend on. We'll get you
everywhere you want ta go.

Ask foi the AVIS Inter Island package and we will
pay your MY Sea Bridge fare to and from Nevis
[Terms and Cond.ram apply

AV'S_

You are about to embark on a “Voyage of Discovery.” Whether
for business or pleasure, the twin island Federation of St. Kitts
& Nevis offers much to see and do during your stay. You may
not have realized it at the time, but you first began your voyage
when you selected St. Kitts - the last undiscovered Caribbean
Island - for your vacation.

A compass won't be required today, but our property map
might be heipful as you continue your exploration throughout
our grand facility. Just as Columbous sew so many years ago.
you too will see glimpses of the colorful history, culture, music
and cuisine that continue to entice weary travelers to our shores

Our Caribbean hideaway boasts a friendly and knowledge-able
staff here at the St. Kitts Marriott Resort and The Royal Beach
Casino who are ready to assist with your every need. We
appreciate your business and want you to come back to spend
your “treasured time” and hard-earned “pirate bounty” with us!

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Bulkdlng #29 + Unit #1 65a Frigate Bay Bd.
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Tel: 1-068-466-4088 ‘Tok 1-008-488-7108
E-mail: kaysshb@smustensiea kn © weeny kaysfinojewsity.opm
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Tek (869) 466-4341 . (869) 466-6340
Ome oles®bkassob.com . Website: om

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Welcome & Enjoy Your Stay!
St. Kitts Marriott Resort & The Royal Beach Casino

Strategically located in the Frigate Bay area, our Resort is
situated on the Atlantic Beach with a 10 minute walk taking
you to the Caribbean Sea The view of a meandering South
East Peninsula relaxes yOu @s you lie on the Atlantic beach
Picturesque mountains border the western side of our Resort,
confirming that you are definitely in the Caribbean.

In addition to these treasures, we boast 3 pools, 4 lighted tennis
courts, exceptional recreational facilities and activities, a kids
club and two fitness centers and spa

For those who brought “Lady Luck” with them, try your hand
at our casino games or on our 18 hole championship golf course

WEDDINGS & BUSINESS CENTER

Conclerge/Guest Services

Our professional and friendly concierge staft is always happy
to assist you For general information on St Kitts & Nevis,
recommendations on what to see and do, restaurants, nightlife
and other activities, please dial 7800/7802 or visit our Guest
Services desk in the main lobby

Weddings

Imagine your wedding day, that perfect beach setting, the
majestic mountains in the distance, turquoise waters gently
caressing the goiden sand between your toes and a faithful
trade wind blowing gently like a kiss Our team of wedding
professionals can make your wedding dreams come true
Dial © (At Your Service) and ask to be transferred to our
Certified Wedding Coordinator for more information on our
wedding packages

SAFETY/HOUSEKEEPING

Guest Services

Your in-room Guest Services Directory contains a full list of
the guest services provided by the hotel or you may dial O
(At Your Service) for more information

Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 19 of 27 PagelD #: 926

( pean 34-4 Filed 10/24/17 Page 8 of 16 PagelD #: 717

Room Key

Your room number is not marked on your key for your
Protection. Additional keys can be obtained at the front
desk. Proper identification is required

Safety Deposit Boxes
Boxes are available in your room or at the Front Desk without
charge

Lost and Found
To report lost and found items please dial 0 (At Your Service),

Doctor on Call

Medical staff is on call 24 hours a day. Should you require
Medical assistance, please dlal 0 (At Your Service). Information
on each doctor is available from our Guest Services desk

Room Cleaning
Rooms are serviced between 8:30am and 4:30pm. If you wish
to have your room serviced at another time, please confirm

STREAMUMED CITZENSHIP-SYINVESTMENT OPFORTUNTES | this time by diallmg O and advise our At Your Service agent
WATER VIEWS FROM $400,000
*MEMBERSHIP AT THE CHRISTOPHE HARBOUR CLUB Laundry

“CONGIEROE AND MAHACHEMENT STAFF Full service laundry is available. Items sent to the laundry by

9:00am will be returned to your room by 5:30pm, seven days

3: 8 week Dial © (At Your Service) for pick up or drop off at the
CHRIBTOPHE HARBOUR sehen sree front desk.
ay atts ‘o@ChristopheHarbour.com
PHONE CALLS
CLAIM YOUR SHARE OF CARIBBEAN BLISS. | Long Distance

Staying in touch is important. Please check your Guest Services
Directory or dlal 0 (At Your Service) for information on access
charges.

Collect Calls
For collect calls, please dial 9 + 0 + Arena Code + Number. Note:
Collect calls are not free. Please see tent card in your room for

Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 20 of 27 PagelD #: 927

Case 1:14-cv-05960-NG-RLM Document 54-4 Filed 10/24/17 Page 9 of 16 PagelD #: 719

Local Calls

Whey a4 ly BYgnoaeingy j For local calls, please dial 9 + number. Charges apply
Gite. V- tthe io! Pe Wake-up Calls
‘ 6 NY If ho), aad Our "At Your Service" agent will gladly assit Dial 0

as International Calling Cards

: eis For your convenience, International Calling Cards have been

Phe’ WaTao ta og | made available for purchase in Pronto and can be used from
—— any payphone on property or around the island

Volcemall

Voicemail is available in every room Messages are private
and recorded to your telephone. To access your voicemail.
please press the voicemail button on your telephone.

Cellular Phones

Keep In touch with your loved ones during your travels around
the island. Cellular phones are available for daily rental at the
hotel's Guest Services desk located in the lobby leve! Please

Jown By The Sea’

‘eaturing Fresh Lobster dial ext. 7600.
RESORT AMENITIES
Every Monday Car Rental

vo A car rental desk is located in our Business Center. Please
from 6 10 P m : dial 7801 for more information.
° Business Center
Located on the lobby level, the fully-equipped Business Center
: , has everything you need to Stey in touch and get your work
| done efficiently. Send and receive faxes. make copies, access
& your €-mail or surf the web Business Center is open 24/7 for
° | these and any other business needs. Dial O for further
; information,
" Fitness Center
+—_" Our Fitness Center features daily spinning and other classes,
Pg treadmills, free weights and body building apparatus. For a
minimal fee, a personal trainer is available to you. Our 24 hour
access fitness center is free to all guests We have two
, locations, on the ground floor adjacent to the Emerald Mist
from 6-1 0 pm Spa and on the ground level below the Business Center.

Body and facial treatments, manicures, pedicures and hair
services are all available at our Emerald Mist Spa. Professional
- - t- rani
BEACH POOL BAR

masseurs offer a variety of massage therapy guaranteed to
relax anyone, Please dial ext. 7630 for additional information

8BQ By The Beach’@

-eaturing all BBQ Classics i

Every Friday
from 6-10 pm

2 1Every Tuesday

a

Shops

Conveniently located on our Lobby Level, you! find a Sundries
& Gift Shop, International Clothing Boutiques. Jewelry Shops
and much more,

Kay’s Fine Jewelry located in the Lobby Level, carries Tag
Heuer, Chopard, Pandora, Gucci. Swarovski, Piaget, Hubliot.
Mikimoto and lots of Dismond and Colored Diamond Jewelry
See ads on pages 2,6 and 16

Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 21 of 27 PagelD #: 928

Case 1:14-cv-05960-NG-RLM Document 54-4 Filed 10/24/17 Page 10 of 16 PageiD #: 719

RESTAURANTS

The St. Kitts Marrlott Resort features a variety of restaurants
to fit your expectations Feast on national and international
culsine prepared to satisfy your every fancy. For reservations
or more information, please dial ext 7800/7602.

Calypso Restaurant
Serving breakfast and lunch, Bountiful breakfast buffet delights
even the most demanding palates No reservations necessary,

La Cucina

Experience authentic Italian cuisine as you enjoy the chefs
preparing all dishes using only the freshest ingredients
Open for dinner from 6:00pm. Join us on Tuesdays for the
ultimate family feast ‘La Festa Italiana’ with pasta stations
Reservations are recommended.

Royal Grille Steakhouse

A classic steakhouse offering mouth-watering beef and seafood
cooked to your preference In our open kitchen. Whatever the
occasion, the “Grille" is the perfect choice. Dress code is resort
elegant and reservations are recommended.

Pizza Shack

Take e moment to sit back and enjoy our unique menu while
you feel the cool breeze of the Atlantic Ocean soothe your
mind, The opensair atmosphere will allow you to stir up some
fun or easily wind down from an exciting day.

Café Calypso

Enjoy flavored coffee, espresso, sandwiches, snacks and
pastries daily at the café, located at the entrance to Calypso.
Serving breakfast, lunch and late night dinner. Dine in or take
out. Open daily from 6 am.

Blu

Dine from a selection of seafood while enjoying the panoramic
views of the Atlantic Ocean. Join us on Mondays for 'Down
By The Sea‘. Hear the sounds of the ocean and listen to the
steel pan while you Indulge in a three course dinner including
grilled lobster. Reservations are recommended,

Bohemia Beach Bar & Grille

With Its swim-up bar and calypso music, Bohemia is the place
to see and be seen. Cool down with a cocktail while you indulge
in jerk- style chicken wings, an island sandwich or a traditional
burger. Join us on Fridays for ‘BBQ By The Beach’

Lobby Bar
The Lobby Bar provides just the right ambience to gather
with friends or make new ones over cocktails and freshly
prepared sushi.

The Keys Rum and Cigar Bar

The sweet aroma of tobacco, its sleek bamboo wood decor
and the diffused lighting are exactly what you would expect
to find in this classic, sophisticated cigar bar

The Golf Clubhouse Grille

Located at the Royal St Kitts Golf Club, guests can toast to
their success on the greens with frosty beers, soft drinks and
lernonade. Open for lunch, serving towering burgers and
other fare

Room Service

Snack or dine in the comfort of your room Room service is
available from 6 am to midnight. To place your order, please
Gial O.

Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 22 of 27 PagelD #: 929

Case 1:14-cv-05960-NG-RLM Document 54-4 Filed 10/24/17 Page 11 of 16 PagelD #: 720

Vaterfalls Restaurant slentied

Tek: 869.465.2764 ROYAL ST. KITTS cee ows
Ext. 230

A fabulous romantic setting, sur-

rounded by lish tropical gardens

andapanoramicview of Basseterre,

offering a culinary experience that
is a feast for the senses. Our chef
welcomes you to discover his
menu creations, described os
“Art On a Plate.” Waterfalls
offers the choice of an outdoor

eranda setting or for private engagements, an air-conditioned dining HON 51010) \o'40) 0 San i ol cam mY ae
20mn. For reservations, contact waterfalls@oceanterraceinn,

om. Need a cocktail be fore dinner? Visit Fisherman's Wharf, a SAS) oe DUAN Aes Ore

nly a 2 minute walk from the Waterfalls Restaurant, offers

1e only dining eaperience on the water. You may be tempted ACTIVITIES

. \ . ; * A daity activities program can be found in our daily newsletter
, ry aes ned lov! seafood dighes Soilled toipertection. In addition to our breathtaking Atlantic-side beach, we offer
pen daily from 6.30pm Tel: 4 . a full agenda of daily activities, including water aerobics and
water volleyball, tennis, dance lessons and pottery painting
On days when we experience “liquid sunshine” (rain), indoor
activities are arranged

Golf

Enjoy our challenging 18 hole. par-7) layout year-round This
“links-style” golf course has five par 3s with three ful! holes
on the Atlantic Ocean and two full holes with view of the
Caribbean Sea The golf course is spread over 125 acres of
irrigated lush seashore paspalum, an advanced hybrid turf
grass, specifically designed to tolerate the salty ocean spray.
The Royal St Kitts Goif Club 1s sure to test your skills, while
stimulating ail your senses during a golf experience you wil
never forget The following amenities are avaliable: Golf Pro
ay Shop, Club and Shoe Rental, Practice Facility, Private
; dy ut LY F Instructions (evailabie b;, appointment) Please dial ext. 7600,

Tennis

Tennis anyone? A Tennis Pro is an hand to offer lessons or
arrange matches on any of our resort's four courts For
mare information, please contact our activities center at

Please dlal ext, 7806
ed Royal Beach Casino
OV — i ‘ Come play in Paradise The Roya! Beach Casino offers a full
MOY AL “Ee & compliment of table gemes as well as over 400 slot machines
paca . (Aaa i Join our exclusive Caribbean Advantage Jewel Player's Club
‘ , . and earn rewards as you play Please dhal ext. 7285
Kids Club

An educational énd entertaining program designed for kids
from 5 to 12 years old. Sign up for a fun-filled day of activities,
such as games, contests, handicrafts, painting and much
more. Full day particioants receive lunch: half-day options
are available including a snack; evening programs include
dinner A sign up fee applies and discounts available for
siblings Please dial ext, 7609/7606.

Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 23 of 27 PagelD #: 930

Case 1:14-cv-05960-NG-RLM_ Documerjt54-4 Filed 10/24/17 Page 12 of 16 PagelD # a

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Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 25 of 27 PagelD #: 932

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Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 26 of 27 PagelD #: 933
Case 1:14-cv-05960-NG-RLM Document 84 Filed 01/14/19 Page 27 of 27 PagelD #: 934

Case 1:14-cv-05960-NG-RLM Document 54-4 Filed 10/24/17 — 16 of 16 PagelD #: 725

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HELPFUL TIPS & FRIENDLY REMINDERS
MA RRIOTT’S ST. KITTS BEACH CLUB
AT YOUR SERVICE HOUSEKEEPING SERVICES

Dial ‘0" at anytime for assistance from our At Your Service
Team.

BARBECUE GRILL

These are located adjacent to the South pool next to the Pal-
metto Building. Available for your enjoyment 24 hours daily.

BEACH CABANAS/ LOUNGE CHAIRS

Complimentary cabanas and lounge chairs are available on
the beach. No reservations required

CASHLESS PROPERTY

Charges can either be done via credit cards or to the villa.
Cash Is not accepted at the outlets on property

CASINO

The casino is located in the main building adjacent to the
lobby.

CHECKOUT TIME

Checkout Time Is 10:00a.m. The Front Office can assist you
with storing your luggage. The Emerald Mist Spa offers com-
plimentary use of the shower and sauna. Reservations are
required.

CRED!T& DEBIT CARD USE

If you provided the Front Desk with a debit card for room/tax
incidentals, there will be an authorization placed on the card,

* The resort processes this authorization to verify the
available funds to enable you to charge to your villa.

e This authorization will remain on your debit card for 10
days past checkout.

DVD RENTALS

DVD'S are available for your viewing entertainment at the
island Adventure Activities Club between the hours of
10:00 am - 4:00 pm. Located on the left of the Brimstone
bullding in the Basseterre bullding

FITNESS CENTER

Open 24 hours with gym key. The villa key will not work at
tha fitness center's entrance. The Front Desk will be able to

All Owners and Exchangers are entitied to one complimen-
tary mid week tidy service. Renters are entitled to dally ser-
vice. There are 2 additional services available for your con-
venience. Full Service and Tidy Service. Special rates apply.
Please dial '0' for details

ICE MACHINE

Ice machines are located on the first floor of the Jessup
House, Camp Bay House, Trinity House and Turtle Bay
House,

INTERNET ACCESS

Complimentary Wireless Internet Access /f offered in the
villa as well as in the Public spaces.

To connect while In the room select Marriott Guest WI-FI,
Chocse the option | have a passcode then enter passcode as
follows. OWNERPASS

To connect while In the public area select Marriott Lobby Wi-Fi.
Enter your first and last name where applicable then click the
connect tab.

MARRIOTT REWARDS STATUS

We welcome all Marriott Rewards members to the St. Kitts
Beach Club, We would like to advise you that there are sig-
nificant differences between the benefits offered at Marriott
Hotels vs. Marriott Vacation Clubs. Please consult the Elite
Benefits guide on-line.

POOL TOWELS

Pool Towel Exchange service is offered by our Housekeep-
ing Team. Just dial ‘0' and we will deliver your pool towels.
The Poo! Towels cannot be exchanged at the Towel Hut.

TELEPHONE CALLS

Rates apply for local and international calls. Dial ‘0' for de-
tails.

TRASH REMOVAL

Trash bins are located on the first floor of each villa building.

